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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   Civil Action No. 13-cv-00884-PAB-KMT

   ABBY MARTIN,

          Plaintiff,

   v.

   FRED WEGENER, IN HIS OFFICIAL CAPACITY AS SHERIFF OF PARK COUNTY, CO,

          Defendant.


     ORDER GRANTING DEFENDANT’S MOTION FOR EXTENSION OF TIME IN
   WHICH TO SUBMIT ANSWER TO PLAINTIFF’S SECOND AMENDED COMPLAINT


          This matter comes before the Court upon Defendant Fred Wegener’s Motion for

   Extension of Time in Which to Submit Answer to Plaintiff’s Second Amended Complaint.

          The Court, having reviewed the Motion and being fully advised, hereby GRANTS the

   Motion and ORDERS that Defendant Fred Wegener’s Answer to Plaintiff’s Second Amended

   Complaint is due on July 15, 2013.

          DATED this ____ day of ________, 2013.

                                        BY THE COURT:



                                        ___________________________
                                        United States District Judge
